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The Honorable Reggie B.Walton
United States District Judge
c/o William W. Taylor II
Zuckerman Spaeder LLP

1800 M Street, NW Site 1000
Washington, DC 20036-5802

Dear Judge Walton,

My name is MARILOU THYS, | am living in Belgium ( Antwerp province), | know Kassim Tajideen
almost 25 years and! worked at his company for several years , here in Belgium.

It was the best job | ever did.

Working for Mr Kassim was very pleasant and | learned alotofhim has me on professional and
also very much in human terms has made a difference in my life. He was always willing to listen and
help, even for our family, he always told'me: "Marilou, works is important for you, | know but don't
forget to make time for your family", which he found very important. He helped everyone and
especially the underprivileged, he had a soft spot for, and he forgot how he himself started. He told
how he once worked as a taxi driver and his case had build up through hard work. He was a very
generous man, with the heart in the right place, fair, just and loyal and a word was a word.

My husband, my children and myself he regarded as his family and still. He’s a real family man. I'm
been in Lebanon several times at his home and he (and also his wife and children) provided always
that the US. | still have to date, very good contacts with his wife and children and especially with
Hussen, the youngest son, | have very regular contact. That will remain so;

That is why this happen me so touched and | was/am shocked at what has happened to him. | know
he really suffer under this situation and also his wife, his children and grandchildren.

Kassim and myself, are meanwhile both Grandma and Grandpa, | have six grandchildren, he has
twelve, they miss him very hard. His wife is going through a very difficult period, she committed to
her children and grandchildren, | know.

We are 64 and 65 years, and sit in the last part of-our lives, still healthy but that can change quickly
on our age so let us enjoy what's left us, after a lifetime of hard work, together with our children
grandchildren and family.

|/we have absolutely no experience with criminal activities of or by Mr. Kassim, on the contrary, he
helps people and has respect for every human being, whatever its origin or belief may be.

Finally, | would like to also mention that also on business, he is/was highly respected by the suppliers
and others anywhere in the world.

With thanks;
Yours faithfully.

He sfc Pgh
Marilou Thys Horr CSth “te: /

 
